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ROBE TSON’S READY MIX, LTD.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

FERNANDO SORIANO, an individual,

on behalf of himself and all others
Similarly Situated,

Plaintiff,

VS.

ROBERTSON’S READY MIX, LTD, a

California Limited Partnership; and
DOES 1-50 inclusive,,

Defendants.

 

 

LEGAL_us_W # 93097537.1

CASE NO.

NOTICE 0F REMOVAL 0F
CIVIL ACTION T0 FEDERAL
COURT UNI)ER 28 U.S.C. §§
1331,1441 AND 1446

NOTICE OF REMOVAL

 

 

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TO TI-IE HONORABLE JUDGES OF THE UNITED STATES DISTRICT
COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA, PLAINTIFF
FERNANDO SORIANO, AND HIS ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE THAT defendant ROBERTSON’S READY MIX,
LTD. (“Defendant”) hereby removes this action from the Superior Court of the
State of California for the County of Orange to the United States District Court for
the Central District of Califomia. Defendant removes this action pursuant to 28
U.S.C. §§ 1331, 1441(a) and 1446 for the following reasons:

Pleadings, Process, and Orders

1. On January 18, 2019, plaintiff Fernando Soriano (“Plaintiff’) filed an

 

unverified proposed class action complaint in the Superior Court of the State of
California for the County of Orange, entitled: “Femando Soriano, an individual
on behalf of himself and all OIher's Similar'ly situated Plainti]j”v. Robertson ’s Ready
Mix, Ltd., and Does l through 5 0, inclusive, Defendants,” and designated as Case
No. 30-2019-01045061-CU-OE-CXC (the “Complaint”). A true and correct copy
of the summons and Complaint is attached hereto as EXhibit “A.”

2. On March 5, 2019, the summons and Complaint were served on
Defendant. A true and correct copy of the proof of service of summons is attached
hereto as Exhibit “B.” The Complaint is the initial and only pleading served on
Defendant setting forth the claims for relief against Defendant upon which this
action may be removed. [d. Therefore, this notice of removal is being timely filed
pursuant to 28 U.S.C. section 1446(b).

3. On April 3, 2019, Defendant answered the Complaint A true and

 

correct copy of the answer is attached hereto as EXhibit “C.”

4. On March 5, 2019 and on March 28, 2019, minute orders of the
Orange County Superior Court were served on Defendant A true and correct copy
of the court orders dated February 4, 2019 and March 27, 2019 (the “Orders”) are
attached hereto collectively as Exhibit “D.”

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5. The summons, Complaint, answer to the Complaint, and Orders
constitute all process, pleadings, and orders served on or by Defendant in this
action.

6. In accordance with 28 U.S.C. section l446(d), the undersigned counsel
certifies that by written notice a copy of this notice of removal and all supporting 1
papers were promptly served on Plaintiff and filed with the clerk of the Orange
County Superior Court. True and correct copies of the form of said notices are
attached hereto as Exhibits “E” and “F,” respectively. Therefore, all procedural
requirements under 28 U.S.C. section 1446 have been satisfied.

7. Venue is proper in this district pursuant to 28 U.S.C. section 1441(a)
because the superior court where the removed case was pending is located within
this district.

Federal Ouestion Jurisdiction

8. A state court action may be removed to federal court if the federal
court would have had original jurisdiction over the suit. 28 U.S.C. § 1441(a). This
is a civil action over which this Court has original jurisdiction under 28 U.S.C.
section 1331.

9. In the Complaint, Plaintiff contends that Defendant failed to pay
Plaintiff, and the group of persons he seeks to represent, all wages owed in
violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”).
Specifically, Plaintiff alleges: “Plaintiff also brings this action pursuant to 29
U.S.C. § 216 on behalf of a Collective defined as: ‘All current and former hourly,
non-exempt employees who worked at Defendants’ facilities at any time during the
period of three (3) years prior to the filing of this lawsuit and ending on a date as
determined by the Court’ (the ‘FLSA Collective’). The FLSA Collective Mernbers
include of all Defendants’ current and former hourly employees who Worked based
out of any of Defendants’ locations throughout the United States, including in
California. Defendants are liable under the FLSA for, inter alia, failing to properly

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compensate Plaintiff and FLSA Collective members for all hours worked.”
Complaint 11 17.

10. Accordingly_, this action arises under the laws of the United States in
that Plaintiff’ s claims in part are expressly premised on the alleged Violation of a
federal law, i.e. , the FLSA, and therefore, this action is properly removed to this
Court. See Bi”euer v. Jim ’S Concrete ofBreward, [nc., 538 U.S. 691 (2003)
(holding that complaint filed in state court but alleging violation of FLSA is
removable to federal court).

B. Plaintiffs’ Remaining Claims Are Also Removable.

ll. In addition, the Court has supplemental jurisdiction over the state law
causes of action in the Complaint because they arise from the same facts,
transactions and occurrences that give rise to the FLSA claim. See 28 U.S.C. §
1367(a). Consequently, considerations of judicial economy and fairness to litigants
require that all of Plaintiffs’ causes of actions against Defendant be litigated
together in a single action. See United Miue Worker's v. Gibbs, 383 U.S. 715, 725-
26 (1966).

12. Accordingly, this Court has federal question jurisdiction over the
entire Complaint and removal is proper.

WHEREFORE, Defendant removes the above-entitled action from the
Superior Court of the State of California for the County of Orange to this Court.

DATED: April 4, 2019 PAUL HASTINGS LLP

By: /"m 04&'_`

s'rEPHEN ij'BERRY

Attorne s for Defendant
ROBE TSON’S READY MIX, LTD.

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